        Case 2:18-cv-00996-JCH-KRS Document 15 Filed 01/23/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

GLORIA TANKESLY,
personal representative of
the estate of James Tankesly, deceased,

               Plaintiff,

v.                                                         No. 2:18-cv-00996-SMV-KRS

J.C. PENNEY CORPORATION, INC.

               Defendant.

                                        SCHEDULING ORDER

        THIS MATTER comes before the Court following a telephonic Rule 16 scheduling

conference held on January 22, 2019. At the hearing, the Court adopted the parties’ proposed

Joint Status Report and Provisional Discovery Plan, except for minor modifications discussed on

the record and included in the dates below.

        IT IS, THEREFORE, ORDERED that the parties shall follow the following discovery

plan:

        (a) Maximum of twenty-five interrogatories per party to the other party with responses

           due thirty days after service.

        (b) Maximum of twenty-five requests for admission per party to the other party with

           responses due thirty days after service.

        (c) Maximum of ten depositions by each party. Depositions shall not exceed seven hours

           unless extended by agreement.

        IT IS FURTHER ORDERED that the following case management deadlines shall

govern:



                                                                                  Scheduling Order
                                                                                       Page 1 of 3
      Case 2:18-cv-00996-JCH-KRS Document 15 Filed 01/23/19 Page 2 of 3



       (a) Plaintiff’s deadline to amend pleading or join additional parties in accordance with

           Federal Rule of Civil Procedure 15: January 30, 2019;

       (b) Defendant’s deadline to amend pleadings or join additional parties in accordance with

           Federal Rule of Civil Procedure 15: February 28, 2019;

       (c) Plaintiff’s expert-disclosure deadline: April 15, 2019;

       (d) Defendant’s expert-disclosure: May 15, 2019;

       (e) Deadline for supplementing discovery/disclosures: within thirty days of receiving

           information triggering the duty to supplement;

       (f) Termination of discovery: July 16, 2019;

       (g) Motions relating to discovery: August 15, 2019;

       (h) All other motions, including dispositive and Daubert motions: September 16, 2019;

       (i) Pretrial order:    Plaintiff to Defendant by: October 31, 2019;

                              Defendant to Court by: November 7, 2019.

       IT IS FURTHER ORDERED that the Court must approve any changes to the timing or

scope of discovery, other than the parties’ agreement to extend the length of a deposition beyond

seven hours made during the deposition in question. Requests by a party to change the timing or

scope of discovery, other than a mutual agreement to extend a deposition reached during the

deposition, must be made by motion and before the termination of discovery or the expiration of

any applicable deadline. Discovery must be completed on or before the termination of the

discovery deadline. A written discovery request must be propounded by a date so that the

response to that request shall be due on or before the discovery deadline. The parties are further

reminded that the cutoff for motions related to discovery does not relieve the party of the 21-day

time period under Local Rule 26.6 to challenge a party’s objections to answering discovery. The


                                                                                    Scheduling Order
                                                                                         Page 2 of 3
       Case 2:18-cv-00996-JCH-KRS Document 15 Filed 01/23/19 Page 3 of 3



parties are encouraged to review Federal Rule of Procedure 26(a)(2) to ensure they properly

disclose all testifying witnesses, not just those for whom a report is required.



                                                      ______________________________
                                                      KEVIN R. SWEAZEA
                                                      UNITED STATES MAGISTRATE JUDGE




                                                                                   Scheduling Order
                                                                                        Page 3 of 3
